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 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 201-4188
     Mike.Long.Law@msn.com
 4
     Attorney for JAMES CLINE
 5

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                  ) No. 14-210 JAM
 8
                     Plaintiff,                     )
 9                                                  ) STIPULATION AND
            v.                                      ) ORDER MODIFYING THE SCHEDULE
10                                                  ) FOR Mr. CLINE’S PRE-SENTENCE
                                                    ) REPORT FOR A NEW SENTENCING DATE
11
     JAMES CLINE,                                   ) OF NOVEMBER 27, 2018
12
                                                    )
                     Defendant.                     ) Judge: Hon. John A. Mendez
13   ================================)
14
            Defendant James Cline is requesting a two-week continuance of his sentencing hearing, which
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16
     is presently set for November 6, 2018. AUSA Jason Hitt, on behalf of the United States Attorney’s

17   Office, and USPO Janice Slusarenko, on behalf of the United States Probation Office, have no
18   objection to the requested continuance. The parties hereby stipulate to re-set the schedule for the pre-
19
     sentence report as follows:
20
            Judgment and Sentencing Date: November 27, 2018
21

22          Reply, or Statement of Non-Opposition: November 20, 2018

23          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: November 13,
24
            2018
25
     Dated: October 25, 2018                                 Respectfully submitted,
26
                                                            /s/ Michael D. Long
27
                                                            MICHAEL D. LONG
28                                                          Attorney for James Cline


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 1
     Dated: October 25, 2018                            McGREGOR SCOTT
 2
                                                        United States Attorney
 3
                                                        /s/ Jason Hitt
 4                                                      JASON HITT
                                                        Assistant U.S. Attorney
 5

 6                                             ORDER

 7          GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
 8
            The Court hereby orders that the schedule for Mr. Cline’s pre-sentence report is amended
 9   as follows:
10
            Judgment and Sentencing Date: November 27, 2018 at 9:15 a.m.
11

12          Reply, or Statement of Non-Opposition: November 20, 2018

13          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: November 13,
14
            2018
15
     Dated: October 25, 2018                     /s/ John A. Mendez_____________
16                                               Hon. JOHN A. MENDEZ
                                                 United States District Court Judge
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